                      EXHIBIT 10

             North Carolina Pattern Jury Instruction
               Civil 802.00 - False Imprisonment




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802.00 FALSE IMPRISONMENT.

         NOTE WELL: This instruction should not be used when the
         defendant relies on the merchant's defenses set forth in N.C.
         Gen. Stat. § 14-72.1.    In that situation use N.C.P.I.-Civil
                1
         802.01.

         The (state number) issue reads:

         "Did the defendant intentionally and unlawfully detain the plaintiff
against his will?"

         On this issue the burden of proof is on the plaintiff. This means that
the plaintiff must prove, by the greater weight of the evidence, that the
defendant intentionally2 and unlawfully3 detained the plaintiff against his
will.4

         A person is detained against his will if he is deprived of his liberty;
that is, compelled to remain where he does not wish to remain, or compelled
to go where he does not wish to go. Detention can occur through the use of
actual force, bodily contact, confinement or physical restraint. Detention can
also occur when threatening words or conduct cause a person to have a
reasonable apprehension that force will be used against him if he does not
submit.5



       1 The so-called "shopkeeper's privilege" is an affirmative defense.       Redding v.
Shelton's Harley Davidson, Inc., 139 N.C. App. 816, 534 S.E.2d 656 (2000).
         2 For an instruction on intent, see N.C.P.I.-Civil 101.46.
      3 Illegal or unlawful implies deliberateness in the defendant's actions.    Emory v.
Pendergraph, 154 N.C. App. 181, 185; 571 S.E.2d 845, 848 (2002).
       4 Marlowe v. Piner, 119 N.C. App. 125, 458 S.E.2d 220 (1995); Rogers v. T.J.X.
Companies, Inc., 101 N.C. App. 99, 104, 398 S.E.2d 610, 613 (1990), review denied, 328
N.C. 332, 402 S.E.2d 838, rev'd in part, 329 N.C. 226, 404 S.E.2d 664 (1991); Black v.
Clark's Greensboro, Inc., 263 N.C. 226, 228, 139 S.E.2d 199, 201 (1964); Hales v.
McCrory-McLellan Corp., 260 N.C. 568, 570, 133 S.E.2d 225, 227 (1963).
       5 “The restraint requirement of this action requires no appreciable period of time,
simply sufficient time for one to recognize his illegal restraint. The tort is complete with
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       In addition to proving that he was detained against his will, the
plaintiff must prove that the detention was unlawful. A detention is unlawful
unless it is authorized by a law.

       [The detention would be lawful if it was pursuant to an arrest by a law
enforcement officer acting under a valid warrant.]6

       [The detention would be lawful if it was by a law enforcement officer
making an arrest without a warrant for an offense committed in his
presence.]7

       [The detention would be lawful if it was by a law enforcement officer
making an arrest without a warrant but acting upon reasonable grounds for
believing that the individual being arrested committed [the felony of (name
felony)] outside his presence.]8

       [The detention would be lawful if it was by a law enforcement officer
making an arrest for (name misdemeanor) and the officer had probable
cause9 to believe that the plaintiff committed the offense and (would not be
apprehended unless immediately arrested) (may cause physical injury to
himself or others unless immediately arrested) (may cause damage to
property unless immediately arrested).]10




even a brief restraint of the plaintiff's freedom.” West v. King's Dep't Store, Inc., 321 N.C.
698, 703, 365 S.E.2d 621, 624 (1988). See also Wilkerson v. Duke Univ., __ N.C. App. __,
__, 748 S.E.2d 154, 158 (2013) (quoting West).
       6 N.C. Gen. Stat. § 15A-401(a).
       7 N.C. Gen. Stat. § 15A-401(b)(1).
       8 N.C. Gen. Stat. § 15A-401(b)(2)(a).
       9 Probable cause exists if the facts and circumstances known to the officer warrant a
prudent man in believing that the plaintiff had committed the offense. See State v. Harris,
9 N.C. App. 649, 651, 177 S.E.2d 445, 447 (1970) (quoting Henry v. United States, 361
U.S. 98, 102 (1959)).
       10 N.C. Gen. Stat. § 15A-401(b)(2)(b).
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       [The detention would be lawful if it was by a law enforcement officer
making an arrest and the officer had probable cause to believe the plaintiff
had committed the offense of (impaired driving) (domestic criminal trespass)
(concealment of merchandise in a mercantile establishment).]11

      [The detention would be lawful if it was by a private person assisting a
law enforcement officer in making an arrest or preventing an escape from
custody when requested to do so by the officer.]12

      [The detention would be lawful if it was by a private person with
probable cause to believe the person detained had committed in his
presence [the felony of (name felony)] [a breach of the peace] [a crime
involving injury to another person] [a crime involving theft or destruction of
property].]13

      (For other instances of lawful detention, see N.C. Gen. Stat. §§ 15A-
401(b)(4); 15A-1113(b).)

      Finally, as to this issue on which the plaintiff has the burden of proof,
if you find, by the greater weight of the evidence, that the defendant
intentionally and unlawfully detained the plaintiff against his will, then it
would be your duty to answer this issue "Yes" in favor of the plaintiff.

      If, on the other hand, you fail to so find, then it would be your duty to
answer this issue "No" in favor of the defendant.




      11 N.C. Gen. Stat. § 15A-401(b)(2)(c) and (d).
      12 N.C. Gen. Stat. § 15A-405.
      13 N.C. Gen. Stat. § 15A-404.
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